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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.
                                                              Criminal Action No. 23-257 (TSC)
 DONALD J. TRUMP,

                 Defendant.


                                      OPINION AND ORDER

       Before the court is Defendant’s Motion to Continue Stay of Order, ECF No. 264

(“Motion”). On October 10, 2024, the court granted leave for the Government to file a redacted

version of the Appendix to its Motion for Immunity Determinations. Order at 2, ECF No. 260.

The court stayed the public docketing of that Appendix for seven days, however, granting

Defendant’s request for time to “evaluate litigation options.” Id. (citation omitted). The option

Defendant has evidently chosen is asking the court to extend that stay until November 14, 2024.

Motion at 1, 6. “[T]he power to stay proceedings is incidental to the power inherent in every

court to control the disposition of the causes on its docket with economy of time and effort for

itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). “How this

can best be done calls for the exercise of judgment, which must weigh competing interests and

maintain an even balance.” Id. at 254–55. Exercising that judgment, the court cannot conclude

that an extended stay is appropriate.

       As the court has explained, there is “an important presumption in favor of public access

to all facets of criminal court proceedings.” United States v. Hubbard, 650 F.2d 293, 317 (D.C.

Cir. 1980). In light of that presumption, the court may keep criminal case documents under seal

only after considering six factors:

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       (1) the need for public access to the documents at issue; (2) the extent of previous
       public access to the documents; (3) the fact that someone has objected to disclosure,
       and the identity of that person; (4) the strength of any property and privacy interests
       asserted; (5) the possibility of prejudice to those opposing disclosure; and (6) the
       purposes for which the documents were introduced during the judicial proceedings.

E.E.O.C. v. Nat’l Childs. Ctr., Inc., 98 F.3d 1406, 1409 (D.C. Cir. 1996); see, e.g., Op. & Order

at 2–6, ECF No. 251; Op. & Order at 3–8, ECF No. 55. Likewise, the court must ensure that the

sealing comports with the First Amendment’s right of public access to criminal proceedings,

where applicable. United States v. Thompson, 199 F. Supp. 3d 3, 8 (D.D.C. 2016); see Press-

Enterprise Co. v. Superior Ct., 478 U.S. 1, 8–9 (1986). The court weighed each of these

considerations in determining that the Appendix should be filed under partial seal—redacting

only certain sensitive information as proposed by the Government, and releasing the remainder

to the public. Order at 1, ECF No. 260 (citing Op. & Order, ECF No. 251).

       Defendant’s request does not engage with the six relevant factors for sealing. Instead, he

argues that keeping the Appendix under seal for another month will serve other interests.

Ultimately, none of those arguments are persuasive.

       First, Defendant asserts that releasing the redacted Appendix now will poison the jury

pool, giving potential jurors “a skewed, one-sided, and inaccurate picture of this case” because

they “may not see [his] later responsive filing” and even then could rely unduly on “first

impressions.” Motion at 3 (citation omitted). Even on its own terms, this argument is too

speculative to support an extended stay: Both sides’ filings will be publicly available (other than

necessary redactions), and whether potential jurors will be exposed to either of them, and in what

order, is unknown. More importantly, however, a potential juror’s exposure to information about

the case is precisely the kind of issue best addressed at voir dire, during which the parties and

court can ask individualized questions to probe potential bias or impartiality. In re Nat’l Broad.


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Co., 653 F.2d 609, 617 (D.C. Cir. 1981) (“[V]oir dire has long been recognized as an effective

method of rooting out such bias.”).

       Second, Defendant argues that it is “essential that the public fully understand the

arguments and documents on both sides of this momentous [immunity] issue, and is not misled

by one-sided submissions,” and that “limiting the public’s access to only one side of this

important debate, even temporarily, would grievously harm its understanding of this case.”

Motion at 4. Setting aside the oxymoronic proposition that the public’s understanding of this

case will be enhanced by withholding information about it, any public debate about the issues in

this case has no bearing on the court’s resolution of those issues. “Legal trials are not like

elections, to be won through the use of the meeting-hall, the radio, and the newspaper.” Bridges

v. State of Cal., 314 U.S. 252, 271 (1941). And in any event, the court is not “limiting the

public’s access to only one side,” Motion at 4; Defendant is free to submit his legal arguments

and factual proffers regarding immunity at any point before the November 7, 2024 deadline. See

October 3, 2024 Min. Order. This “is simply how litigation works: Each side presents

arguments and proffers evidence on disputed issues.” Op. & Order at 3, ECF No. 243.

       Third, Defendant contends that “asymmetric releases” of the parties’ immunity

arguments and proffers “exacerbate the very harms immunity exists to prevent,” Motion at 4—

i.e., a chilling effect on what the Supreme Court has called “the ‘bold and unhesitating action’

required of an independent Executive.” Trump v. United States, 144 S. Ct. 2312, 2330–31

(2024) (quoting Nixon v. Fitzgerald, 457 U.S. 731, 745 (1982)). But the Supreme Court

instructed this court to turn directly to briefing addressing the “close” and “fact specific” analysis

“of the indictment’s extensive and interrelated allegations.” Id. at 2339. Those instructions

nowhere suggested that such submissions need be simultaneous. And indeed, Defendant’s true



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concern does not appear to be with that “asymmetry”—which his own proposed briefing

schedule shared. See Joint Status Report at 4, ECF No. 229. Rather, his objection is to the

Appendix’s release “during a highly contested political campaign.” Motion at 4. But a

President’s “capacity . . . as a candidate for office” is “unofficial” and does not implicate the

concerns animating his official immunity. Id. at 2340; see id. at 2332. Accordingly, the court

has repeatedly stressed that “Defendant’s concern with the political consequences of these

proceedings does not bear on the pretrial schedule.” Op. & Order at 3, ECF No. 243.

       Finally, and relatedly, Defendant claims that the “asymmetric release of charged

allegations and related documents during early voting creates a concerning appearance of

election interference.” Motion at 5. There is undoubtedly a public interest in courts not inserting

themselves into elections, or appearing to do so. See id. at 6. But litigation’s incidental effects

on politics are not the same as a court’s intentional interference with them. As a result, it is in

fact Defendant’s requested relief that risks undermining that public interest: If the court withheld

information that the public otherwise had a right to access solely because of the potential

political consequences of releasing it, that withholding could itself constitute—or appear to be—

election interference. The court will therefore continue to keep political considerations out of its

decision-making, rather than incorporating them as Defendant requests. Any argument about

“what needs to happen before or shouldn’t happen before the election is not relevant here.” Tr.

of Arraignment and Status Conference at 29, ECF No. 232.




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       For these reasons, Defendant’s Motion to Continue Stay of Order, ECF No. 264, is

hereby DENIED. In a separate order on October 18, 2024, the court will lift the stay and direct

the Clerk of the Court to docket the Appendix, with the Government’s proposed redactions.



Date: October 17, 2024

                                                Tanya S. Chutkan
                                                TANYA S. CHUTKAN
                                                United States District Judge




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